
Upon consideration of the petition filed by Defendant on the 17th of June 2019 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of June 2019."
Upon consideration of the petition filed by Defendant on the 17th of June 2019 in this matter for a writ of certiorari to review the order of the Superior Court, Rowan County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 26th of June 2019."
The following order has been entered on the motion filed on the 17th of June 2019 by Defendant to Appoint Counsel:
"Motion Dismissed as moot by order of the Court in conference, this the 26th of June 2019."
Davis, J. recused
